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17

18
                              UNITED STATES DISTRICT COURT
19
                           NORTHERN DISTRICT OF CALIFORNIA
20

21
                                                     Case No. 3:20-cv-01626-JD
22   In re: Robinhood Outage Litigation
                                                     SECOND AMENDED CONSOLIDATED
23                                                   CLASS ACTION COMPLAINT

24
                                                     DEMAND FOR JURY TRIAL
25

26

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                                                                            Case No. 3:20-cv-01626-JD
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 1                                            INTRODUCTION
 2          1.      Plaintiffs bring this putative class action against Defendants Robinhood Financial,
 3   LLC (“Robinhood Financial”), Robinhood Securities, LLC (“Robinhood Securities”), and
 4   Robinhood Markets, Inc. (“Robinhood Markets”) (collectively, “Robinhood”), demanding a trial
 5   by jury. Plaintiffs make the following allegations pursuant to the investigation of counsel and based
 6   upon information and belief, except as to the allegations specifically pertaining to each individual
 7   Plaintiff, which are based on personal knowledge.
 8          2.      Robinhood is an online brokerage firm founded in 2013 that states it is “a pioneer
 9   in commission-free investing.” Robinhood’s customers can place securities trades through the
10   firm’s website and by using a web-based application (or “app”). Robinhood permits customers,
11   when its trading platform is operational, to purchase and sell certain securities, including option
12   contracts, and engage in trading on margin. The company has no storefront offices and operates
13   entirely online. Robinhood is a FINRA 1 regulated broker-dealer
14          3.      Unfortunately for Robinhood’s customers, including Plaintiffs and the putative class
15   (the “Class”), Robinhood’s trading systems have repeatedly crashed—preventing Plaintiffs and the
16   Class from accessing their accounts and making any trades through the firm’s website or app. The
17   most significant crash occurred on Monday, March 2, 2020, and extended through mid-day
18   Tuesday, March 3, 2020. The March 2-3 outage crashed all of Robinhood’s operating systems for
19   more than a full trading day.
20          4.      Several days later, on March 9, 2020, Robinhood again experienced another
21   complete system outage. Plaintiffs and Class members again experienced significant outages on
22   March 13, 16, and June 18, 2020. In total, the Robinhood website and app have gone down 47
23   times since March. 2    The service outages are individually referred to as an “Outage” and
24   1
        Financial Industry Regulatory Authority, Inc. (FINRA) is a private corporation that acts as a a
     non-governmental, self-regulatory organization that regulates member brokerage firms and
25   exchange markets.
     2
26     Nathaniel Popper, Robinhood Has Lured Young Traders, Sometimes With Devastating Results,
     The New York Times (July 8, 2020)
27   https://www.nytimes.com/2020/07/08/technology/robinhood-risky-
     trading.html?searchResultPosition=2 (last visited Aug.19, 2020).
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 1   collectively as the “Outages”. 3
 2          5.      During the Outages, Robinhood’s customers were completely unable to use the
 3   services, including to buy or sell securities or to exercise option contracts through Robinhood’s
 4   website and app. Robinhood’s help center, which should provide email and phone support, was
 5   also unavailable during the Outages and customers were unable to obtain any information or
 6   meaningful assistance from Robinhood. During the Outages, Class members repeatedly attempted
 7   to contact the help center, by phone and email, to no avail. Robinhood has admitted that during the
 8   Outages the help center was unavailable and that Robinhood’s phone support was non-existent.
 9   Customers were thus left with no recourse during the Outages, unable to access their funds or
10   exercise time-sensitive trades. They were forced to sit helplessly until services were re-established.
11          6.      The Outages on March 2 and 3, 2020, were particularly devastating for Plaintiffs
12   and the Class as the Dow Jones Industrial Average rose 5.1% during that time. 4 Meanwhile,
13   Robinhood users were locked out of their accounts and unable to access their funds or make
14   trades—while the markets gained a record $1.1 trillion. The Outage on March 9, 2020, was
15   similarly harmful, as the Dow Jones Industrial Average had its largest point plunge in history up to
16   that date. 5 Again, Plaintiffs and the Class were unable to access their funds or make trades and
17   suffered significant losses as a result. Trades that were placed before the Outages, for which
18   Plaintiffs and the Class received trade confirmations, also failed, or were processed at incorrect
19   times or incorrect prices during the Outages. Additionally, Plaintiffs and the Class members were,
20   at times during the Outages, able to seemingly place trades, and again the Plaintiffs and class
21   received trade confirmations; however, it was later learned that those trades also failed, or were
22
     3
23     Plaintiffs and the Class seek damages related to the Outages on March 2, 3, and 9, 2020.
     4
       Fred Imbert and Eustance Huang, Dow roars back from coronavirus sell-off with biggest gain
24   since 2009, surges 5.1%, CNBC (March 2, 2020) https://www.cnbc.com/2020/03/01/awaiting-
     us-stock-futures-open-at-6-pm-after-wall-streets-worst-week-since-2008.htm (last visited Aug.
25   19, 2020).
     5
26     Kimberly Amadeo, How Does the 2020 Stock Market Crash Compare With Others? The
     Balance (April 27, 2020) https://www.thebalance.com/fundamentals-of-the-2020-market-crash-
27   4799950#:~:text=The%20stock%20market%20crash%20of,point%20drops%20in%20U.S.%20hi
     story (last visited Aug. 19, 2020).
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 1   processed at incorrect times or incorrect prices during or after the Outages.
 2          7.      Such failures constitute negligence, breaches of contract and fiduciary duties, and
 3   are violations of FINRA regulations. Per FINRA regulations, Robinhood has a duty to process
 4   trades timely and at the best prices for its users. Robinhood is also required to have a business
 5   continuity plan identifying a procedure relating to an emergency or significant business disruption.
 6   During the Outages, Robinhood failed to process trades in a timely manner or at all, and it was
 7   discovered that Robinhood’s continuity plan was nonexistent. Robinhood simply abandoned its
 8   customers.
 9          8.      The loss of access to Robinhood’s trading platform and absence of contingency
10   plans and customer service support caused concrete, particularized, and actual damages for
11   Robinhood customers. Plaintiffs and members of the class were unable to monitor their accounts,
12   make trades, or exercise their option contracts to capitalize on gains or to mitigate losses. Many
13   Plaintiffs and Class members held options contracts that expired, worthless, during the Outages.
14   And some of those contracts, such as the contracts held by certain Plaintiffs herein, were exercised
15   by Robinhood during the Outages, without express authorization or approval of its customers, at a
16   loss. Other Plaintiffs and Class members were subjected to forced margin calls as a result of the
17   Outages, which they otherwise would have been able to avoid if they had access to their accounts.
18          9.      Robinhood accepts fault for the Outages, which it attributes to stress on its systems.
19   According to Robinhood employees, the March 2020 “outage was rooted in issues with the
20   company’s phone app and servers. They said the start-up had underinvested in technology and
21   moved too quickly rather than carefully.” 6 These flaws were known and insufficiently addressed:
22   “[s]oftware mishaps have rocked Robinhood before,” including in 2018, for example, when
23   its “options trading service had an outage that locked consumers out of their accounts and stopped
24

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26   6
       Nathaniel Popper, Robinhood Has Lured Young Traders, Sometimes With Devastating Results,
27   The New York Times (July 8, 2020)
     https://www.nytimes.com/2020/07/08/technology/robinhood-risky-
28   trading.html?searchResultPosition=2 (last visited Aug.19, 2020).
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 1   them from closing positions[.]” 7
 2           10.      In offering trading services, Robinhood assumed a duty to ensure that its systems
 3   were sufficiently equipped to reliably deliver such services under reasonably foreseeable customer
 4   demands and market conditions, such as those at issue in this case. Robinhood acted negligently
 5   by failing to adequately or properly equip itself technologically and systemically to maintain
 6   Plaintiff and Class members’ access to trading services. Due solely to its own negligence and failure
 7   to maintain adequate infrastructure, Robinhood breached obligations owed to Plaintiff and Class
 8   members and caused them substantial losses.          Its failures are all the more serious due to
 9   Robinhood’s history of such failures, the magnitude of the Outages, the absence of alternative
10   means for customers to protect their positions and investments, and lack of communication and
11   customer support.
12           11.      Plaintiffs bring this class action on behalf of Robinhood customers who were denied
13   access to their Robinhood trading accounts during the Outages and for the many, including
14   themselves, who suffered losses as a result of the Outages. Plaintiffs assert putative class action
15   claims generally including negligence, breach of contract, breach of fiduciary duty, and violations
16   of California’s Unfair Competition Law, on behalf of themselves and all other Robinhood
17   customers who are similarly situated. Plaintiffs seek damages, restitution, disgorgement and
18   declaratory relief.
19                                                PARTIES
20           12.      Plaintiff Daniel Beckman (“Plaintiff Beckman”) is a citizen of Florida and is over
21   the age of 18.
22           13.      Plaintiff Joseph Gwaltney (“Plaintiff Gwaltney”) is a citizen of Florida and is over
23   the age of 18.
24           14.      Plaintiff Emma Jones (“Plaintiff Jones”) is a citizen of Texas and is over the age
25
     7
26    John Gittlelsohn, Annie Massa, and Jennifer Surane, Robinhood Maxed Out a Credit Line Last
     Month as Markets Fell, Bloomberg (March 10, 2020)
27   https://www.bloomberg.com/news/articles/2020-03-10/robinhood-maxed-out-credit-line-last-
     month-amid-market-tumult (last visited Aug. 19, 2020).
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 1   of 18.
 2            15.     Plaintiff Leila Kuri (“Plaintiff Kuri”) is a citizen of North Carolina and is over the
 3   age of 18.
 4            16.     Plaintiff Jared Leith (“Plaintiff Leith”) is a citizen of Minnesota and is over the age
 5   of 18.
 6            17.     Plaintiff Omeed Mahrouyan (“Plaintiff Mahrouyan”) is a citizen of California and
 7   is over the age of 18.
 8            18.     Plaintiff Mahdi Heidari Moghadam (“Plaintiff Moghadam”) is a citizen of Texas
 9   and is over the age of 18.
10            19.     Plaintiff Howard Morey (“Plaintiff Morey”) is a citizen of Oklahoma and is over the
11   age of 18.
12            20.     Plaintiff Colin Prendergast (“Plaintiff Prendergast”) is a citizen of California and is
13   over the age of 18.
14            21.     Plaintiff Raghu Rao (“Plaintiff Rao”) is a citizen of New Jersey and is over the age
15   of 18.
16            22.     Plaintiff Michael Riggs (“Plaintiff Riggs”) is a citizen of Pennsylvania and is over
17   the age of 18.
18            23.     Plaintiff Kevin Russell (“Plaintiff Russell”) is a citizen of Illinois and is over the
19   age of 18.
20            24.     Plaintiff Jason Steinberg (“Plaintiff Steinberg”) is a citizen of California and is over
21   the age of 18.
22            25.     Plaintiff Jared Ward (“Plaintiff Ward”) is a citizen of California and is over the age
23   of 18.
24            26.     Plaintiff Mengni Xia (“Plaintiff Xia”) is a citizen of New York and is over the age
25   of 18.
26            27.     Defendant Robinhood Financial is a Delaware corporation with its principal place
27   of business at 85 Willow Road, Menlo Park, California 94025. It is a wholly-owned subsidiary of
28   Robinhood Markets. Robinhood Financial is registered as a broker-dealer with the U.S. Securities
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 1   & Exchange Commission (“SEC”). Defendant Robinhood Financial acts as an introducing broker
 2   and has a clearing arrangement with its affiliate Defendant Robinhood Securities.
 3            28.   Defendant Robinhood Securities is a Delaware corporation with its principal place
 4   of business at 500 Colonial Center Parkway, Suite 100, Lake Mary, Florida 32746. It is a wholly-
 5   owned subsidiary of Defendant Robinhood Markets.
 6            29.   Defendant Robinhood Markets is a Delaware corporation with its principal place of
 7   business at 85 Willow Road, Menlo Park, California 94025. Defendant Robinhood Markets is the
 8   corporate parent of Defendants Robinhood Financial and Robinhood Securities. Robinhood
 9   Markets is also the entity that actually owns, develops and/or maintains the technology
10   infrascturcture that was at the root cause of and that was impacted by the Outages. Robinhood
11   Markets is the developer and provider of the mobile application that Plaintiffs downloaded and
12   used as customers of Robinhood. Robinhood Markets is the employer of most, if not all, of the key
13   engineering personnel who developed, designed and maintained the technology infrastructure that
14   failed during the Outages. Most, if not all, of Robinhood Markets’ engineering employees who
15   were responsible for developing and/or maintaining Robinhood’s electronic securities trading
16   application perform their work at facilities and/or on equipment owned or leased by Robinhood
17   Markets, which also acts as a technology vendor for its own subsidiaries Robinhood Financial and
18   Robinhood Securities. Robinhood Markets also pays for and provides staffing and services
19   pertaining to customer service for Robinhood Financial and Robinhoood Securities, including at
20   times pertinent to the Outages. Certain personnel maintain multiple roles at the various entities,
21   such as Robinhood Markets’ current director of engineering who also serves as Robinhood
22   Financial’s Chief Technology Officer, creating intertwined management and supervision of the
23   technology infrastructure that failed during the Outages and gives rise to Plaintiffs’ claims.
24   Plaintiffs bring their claims against Robinhood Markets in its capacity as a parent corporation of
25   the co-defendants, but also in its own capacity as an alleged tortfeasor on the claims identified
26   below.
27                                   JURISDICTION AND VENUE
28            30.   This Court has jurisdiction over the subject matter of this action pursuant to 28
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 1   U.S.C §1332(d), because the amount in controversy for the Classes exceeds $5,000,000 exclusive
 2   of interest and costs, there are more than 100 putative Class members defined below and minimal
 3   diversity exists because the majority of putative Class members are citizens of a state different than
 4   Defendants.
 5          31.     Pursuant to 28 U.S.C. § 1391, this Court is the proper venue for this action because
 6   a substantial part of the events, omissions, and acts giving rise to the claims herein occurred in this
 7   District where Robinhood is headquartered and where it developed and sold the financial services
 8   which are the subject of the present complaint. Finally, venue is appropriate in this District pursuant
 9   to 28 USC § 1391(b)(2) because Robinhood is headquartered in Menlo Park and a substantial part
10   of the acts and omissions that gave rise to this Complaint occurred or emanated from this District.
11          32.     This Court has personal jurisdiction over Robinhood because it is headquartered in
12   and authorized to do business and does conduct business in California, and because it has sufficient
13   minimum contacts with this state and/or sufficiently avails itself of the markets of this state through
14   its business within this state to render the exercise of jurisdiction by this Court permissible.
15                                  INTRADISTRICT ASSIGNMENT
16          33.     Pursuant to Civil Local Rule 3-2(c), an intradistrict assignment to the San Francisco
17   Division is appropriate because a substantial part of the events or omissions which give rise to the
18   claims asserted herein occurred in this Division, and because the District Court transferred this
19   matter to the San Francisco Division after it was originally filed in the San Jose Division, and then
20   consolidated about a dozen related matters filed in, transferred to, or removed to this District.
21                                      FACTUAL ALLEGATIONS
22          Robinhood’s Business Model
23          34.     Robinhood was founded by Vlad Tenev and Baiju Bhatt, who met each other at
24   Stanford University in 2005. After teaming up on several ventures, including a high-speed trading
25   firm, they created Robinhood in 2013. 8
26   8
       Nathaniel Popper, Robinhood Has Lured Young Traders, Sometimes With Devastating Results,
27   The New York Times (July 8, 2020)
     https://www.nytimes.com/2020/07/08/technology/robinhood-risky-
28   trading.html?searchResultPosition=2 (last visited Aug.19, 2020).
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 1           35.     Robinhood offers people the ability to invest in stocks, ETFs, and options through
 2   an electronic trading platform, both online and through an app.
 3           36.     Robinhood competes with other online and traditional brokerages by not charging
 4   trading fees. At the time of its founding, most brokerage firms charged about $10 or more to make
 5   a trade. Robinhood also competes with traditional financial institutions by offering more user-
 6   friendly digital services, which has made Robinhood very popular, especially with younger traders.
 7   In July of 2020, Robinhood said it had over 13 million users on its platform. In August 2020, after
 8   raising $200 million in Series G funding, Robinhood was valued at $11.2 billion. 9
 9           37.     Robinhood’s original product was commission-free trades of stocks and
10   exchange-traded funds. As Robinhood grew, it added more risky and complex products—like
11   options and margin trading. Those products, combined with Robinhood's game-like interface, have
12   been a hit with millenials, and its typical customer is 31 years old on average. 10
13           38.     Robinhood’s trading app, when functional, is designed to be easy to use. For
14   example, on the Robinhood home screen, there is a list of popular stocks that users can “trade” with
15   just the touch of the screen, which skips many of the steps that other firms require.
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       Kate Rooney, Robinhood snags third mega-investment of the year, boosting valuation to $11.2
25   billion, CNBC (August 17, 2020) https://www.cnbc.com/2020/08/17/robinhood-announces-
26   another-mega-round-valuation-soars-to-11point2b.html (last visited Aug. 19, 2020).
     10
        Graham Rapier, Robinhood had to install protective glass after frustrated traders kept showing
27   up at its office, Business Insider (July 10, 2020) https://www.businessinsider.com/robinhood-
     office-installed-bulletproof-glass-after-frustrated-traders-visited-report-2020-7 (last visited Aug.
28   19, 2020).
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 1            39.   Robinhood also includes many features that make investing appear more like a
 2   game. New members are given a free share of stock when they join Robinhood—to reveal the
 3   stock users scratch-off images that look like a lottery ticket. 11 Once the stock is revealed, confetti
 4   appears to fall from the top of the screen.
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15            40.   One of Robinhood’s popular features is the ability for users to engage in options
16   trading. Robinhood describes its options trading as “quick, straightforward & free.” To start
17   trading options, users respond to multiple-choice questions. “Beginners are legally barred from
18   trading options, but those who click that they have no investing experience are coached by the app
19   on how to change the answer to ‘not much’ experience. Then people can immediately begin option
20   trading.” 12
21            41.   According to the New York Times, Robinhood’s “success appears to have been built
22   on a Silicon Valley playbook of behavioral nudges and push notifications, 13 which has drawn
23   inexperienced investors into the riskiest trading. . . And the more that customers engaged in such
24
     11
        Nathaniel Popper, Robinhood Has Lured Young Traders, Sometimes With Devastating Results,
25   The New York Times (July 8, 2020)
26   https://www.nytimes.com/2020/07/08/technology/robinhood-risky-
     trading.html?searchResultPosition=2 (last visited Aug.19, 2020).
     12
27      Id.
     13
        Nudges and push notifications are reminders or prompts sent directly to users. Nudges and push
28   notifications may appear on a users home screen similar to a text message or email alerts.
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 1   behavior, the better it was for the company.” 14 “At the core of Robinhood’s business is an incentive
 2   to encourage more trading. It does not charge fees for trading, but it is still paid more if its
 3   customers trade more.” 15
 4            42.   A research analyst at Chicago-based Sumner Capital group pointed out that
 5   Robinhood’s app has “slick interfaces. Confetti popping everywhere…They try to gamify trading
 6   and couch it as an investment.” 16 Unfortunately for many Americans, losing investment and
 7   retirement funds or accruing colossal debt is not a game, and the consequences have been tragic. 17
 8            43.   Robinhood’s digital platform app has been beset by its technology glitches, which
 9   have been significant and ongoing. “In 2018, Robinhood released software that accidentally
10   reversed the direction of options trades giving customers the opposite outcome from what they
11   expected. Last year, it mistakenly allowed people to borrow infinite money to multiply their bets,
12   leading to some enormous gains and losses.” 18
13            44.   Robinhood claims that its more recent Outages resulted from “stress on [their]
14   infrastructure” due to “unprecedented load,” and “record volume.” 19 But these circumstances,
15   even if true, were encouraged and driven by Robinhood’s own business model—encourage its users
16   to trade as much as possible. 20
17
     14
        Nathaniel Popper, Robinhood Has Lured Young Traders, Sometimes With Devastating Results,
18
     The New York Times (July 8, 2020)
19   https://www.nytimes.com/2020/07/08/technology/robinhood-risky-
     trading.html?searchResultPosition=2 (last visited Aug.19, 2020)..
20   15
        Id.
     16
        Antoine Gara, Sergei Klebnikov, 20-Year-Old Robinhood Customer Dies by Suicide After
21   Seeing a $730,000 Negative Balance, Forbes (June 17, 2020)
22   https://www.forbes.com/sites/sergeiklebnikov/2020/06/17/20-year-old-robinhood-customer-dies-
     by-suicide-after-seeing-a-730000-negative-balance/#11d468081638 (last visited Aug. 19, 2020).
     17
23      Id.
     18
        Robinhood options errors, Elite Trader, https://www.elitetrader.com/et/threads/robinhood-
24   options-errors.327998/ (last visited Aug. 19, 2020).
     19
        Baiju Bhatt and Vladimir Tenev, An Update from Robinhood’s Founders, Robinhood (March
25   3, 2020) https://blog.robinhood.com/news/2020/3/3/an-update-from-robinhoods-founders ((last
26   visited Aug. 19, 2020).
     20
        Nathaniel Popper, Robinhood Has Lured Young Traders, Sometimes With Devastating Results,
27   The New York Times (July 8, 2020)
     https://www.nytimes.com/2020/07/08/technology/robinhood-risky-
28   trading.html?searchResultPosition=2 (last visited Aug. 19, 2020).
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 1              45.   Robinhood’s users trade more often than average, faster, and with more risk than
 2   traders who use other platforms. According to an analysis of new filings from nine brokerage firms
 3   by the research firm Alphacution for The New York Times, in the first quarter of 2020, Robinhood
 4   users traded nine times as many shares as E-Trade customers and 40 times as many shares as
 5   Charles Schwab customers. They also bought and sold 88 times as many risky options contracts as
 6   Schwab customers, relative to the average account size, according to the analysis. 21
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17              46.   According to Tim Welsh, founder and CEO of wealth management consulting firm

18   Nexus Strategy, “they should put a cigarette warning label on Robinhood, because it could be

19   hazardous to your financial health the more you trade. Every study on planet Earth has shown day

20   traders that are not sophisticated do not make money. They game-ify it, they throw confetti after

21   each trade, the make it ‘free’ but ultimately it’s a losers game.” 22

22              Robinhood’s Services and How it Makes Money

23              47.   When a user opens an account with Robinhood, they enter into a Customer

24   Agreement with “Robinhood Financial LLC, Robinhood Securities, LLC, and their agents and

25   assigns.” Prior to the Outages in March 2020, the Customer Agreement had most recently been

26   revised on February 5, 2020. After the March Outages, Robinhood revised its Customer Agreement

27
     21
          Id.
28   22
          Id.
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 1   on April 28, 2020, and again on June 22, 2020.
 2            48.   Robinhood provides its users educational information with the tagline “Investing
 3   can be complicated — that’s why we’re here. From beginners’ guides to timely features, explore
 4   articles that make finance a little more understandable.” The information provided varies from
 5   investment strategy for investors in their 20’s, to basic information about the market and common
 6   terms used in investing. 23 Robinhood’s interface also highlights particular stocks and “makes
 7   suggestions to users on what to trade next.” 24
 8            49.   Robinhood offers a paid subscription product called “Gold.” Users who purchase
 9   Gold memberships pay $5 a month to have faster deposit processing, access to professional
10   research, the ability to see additional information about stock prices, and the ability to invest on
11   margin. 25
12            50.   Robinhood also makes money from “payment for order flow” fees. In fact, payment
13   for order flow fees are reportedly Robinhood’s primary revenue stream—greatly exceeding what it
14   earns from Robinhood Gold, or from the interest it makes on cash balances in customer accounts,
15   which is another source of Robinhood’s revenue.
16            51.   Payment for order flow fees are paid to Robinhood from electronic market makers
17   for passing on customer orders. For example, if a Robinhood users purchase a share of Apple on
18   through their account, Robinhood sends that order to a large market maker like Citadel Securities
19   and receives a few pennies in return—i.e., the “payment for order flow” fees. Citadel, meanwhile,
20   completes the trade and makes a few pennies itself. 26
21            52.   For Robinhood, those fees add up. According to a recent SEC filing, Citadel
22

23   23
       See https://learn.robinhood.com/ (last visited Aug. 19, 2020).
     24
24     Alicia Adamcyk, Trading Apps Like Robinhood Are Having A Moment. But Users Should Be
     Careful, CNBC (Aug. 21, 2020), https://www.cnbc.com/2020/08/21/robinhood-is-having-a-
25   moment-users-should-be-careful.html (last visited Aug. 21, 2020).
     25
26       A margin account is a brokerage account in which the broker lends the investor money to buy
     more securities than what they could otherwise buy with the balance in their account.
     26
27      Jeff John Roberts, David Z. Morris, Robinhood makes millions selling your stock trades … is
     that so wrong?, Fortune (July 8, 2020), https://fortune.com/2020/07/08/robinhood-makes-
28   millions-selling-your-stock-trades-is-that-so-wrong/ (last visited Aug. 19, 2020).
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 1   Securities and several other firms paid Robinhood nearly $100 million in the first quarter of 2020. 27
 2   And in the second quarter of 2020 — Robinhood made $180 million off trades, roughly double
 3   from the prior quarter. 28
 4            The Outages
 5            53.    At 9:33 am 29 the morning of March 2, 2020, a Monday and the first day of the month
 6   for trading traditional securities, Robinhood’s trading platform completely stopped functioning. As
 7   a result, at that moment, the platform stopped processing orders entered by customers prior to the
 8   Outage and customers were unable to enter new orders. The majority of users were also prevented
 9   from accessing their account and funds altogether.         Robinhood was unable to restore full
10   functionality until Tuesday, March 3, 2020 at 11:54 am. In total, Robinhood’s systems were
11   nonfunctional or inaccessible to customers for 26 hours and 21 minutes.
12
              54.    At 11:02 am the morning of March 2, Robinhood publicly acknowledged the
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     “downtime” and impact on “all functionalities” of the platform on Twitter: 30
21
     The Robinhood Help account (@AskRobinhood) is owned or controlled by Robinhood.
22

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     27
        Id.
24   28
        Kate Rooney, Maggie Fitzgerald, Here’s how Robinhood is raking in record cash on customer
     trades — despite making it free, CNBC (August 13,
25   2020), https://www.cnbc.com/2020/08/13/how-robinhood-makes-money-on-customer-trades-
26   despite-making-it-free.html?__source=iosappshare%7Ccom.apple.UIKit.activity.Mail (last
     visited Aug. 19, 2020).
     29
27      All times are Eastern Standard Time, unless otherwise indicated.
     30
        Twitter, https://twitter.com/AskRobinhood/status/1234509495084240898 (last visited Aug. 19,
28   2020).
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 1            55.    Around 4:00 pm on the afternoon of March 2, Robinhood emailed its customers
 2   directly to repeat the substance of the message posted to Twitter earlier that morning, which was
 3   that Robinhood was “experiencing downtime across [its] platform,” that the outage was “affecting
 4   functionality on Robinhood,” and that the outage was affecting customers’ “ability to trade”:
 5                                  Update on Robinhood System Status

 6            This morning, starting at 9:33 AM ET, we started experiencing downtime across our
              platform. These issues are affecting functionality on Robinhood, including your
 7
              ability to trade.
 8
              All of us at Robinhood are working as hard as we can to resume service, and we’ll
 9            update you as soon as the issue is resolved. We understand the impact this is having
              and we apologize for any trouble this has caused.
10

11            Please check our status page at status.robinhood.com. Thank you for being a
              Robinhood customer.
12
              Sincerely,
13            The Robinhood Team
              robinhood.com
14
              56.    At 4:07 pm on March 2, immediately after emailing its customers, Robinhood
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     posted another message to Twitter publicly confirming that its platform was “still experiencing
24
     system-wide issues” and that it had yet to “resume service”: 31
25
              57.    Early on March 3, 2020, at 2:19 am, Robinhood posted two messages to its Twitter
26
     account reporting that its systems were “currently back up and running,” that customers might
27
     31
       Twitter, https://twitter.com/AskRobinhood/status/1234586094395523074 (last visited Aug. 19,
28   2020).
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 1   still “observe some downtime” as Robinhood prepared for the day, and acknowledging that “issues
 2   like this are not acceptable”: 32
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12            58.    At about 2:45 am the morning of March 3, Robinhood sent another email to

13   customers saying directly to them what it had just said publicly, which was that its systems were

14   “currently back up and running,” that the outage was “not acceptable,” and that Robinhood

15   realized that it had “let [customers] down”:

16                                       Robinhood is currently back online

17            We’re reaching out to let you know that Robinhood is currently back up and running.
              We want to assure you that your funds are safe and personal information was not
18            affected.
19            When it comes to your money, issues like this are not acceptable. We realize we
20            let you down, and our team is committed to improving your experience.

21            59.    At 10:11 am on March 3, Robinhood reported, again through its public-facing

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     32
      Twitter, https://twitter.com/AskRobinhood/status/1234740273877405697 (last visited Aug. 19,
28   2020).
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 1   Twitter account, that its “systems are currently experiencing downtime” and that “full
 2   functionality” of the Robinhood platform remained unavailable to customers: 33
 3            60.    At 11:35 am, later the morning of March 3, Robinhood stated on its Twitter account
 4   that its service had “been partially restored” and that it was “working toward restoring and
 5   maintaining full functionality.” 34
 6            61.    At 11:54 am on March 3, Robinhood reported that its systems had been “now
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13   fully restored”, while noting that its users deserved better: 35
14
              62.    Also on March 3, a Robinhood spokesperson admitted that the cause of the Outage
15
     was “instability in a part of our infrastructure that allows our systems to communicate with each
16
     other.” At some point later that day, Robinhood’s systems were restored.
17
              63.    Later, in a blog post on Robinhood’s website dated March 3, 2020, Robinhood’s
18
     founders stated:
19                  Our team has spent the last two days evaluating and addressing this
20                  issue. We worked as quickly as possible to restore service, but it took
                    us a while. Too long. We now understand the cause of the outage was
21                  stress on our infrastructure—which struggled with unprecedented
                    load. That in turn led to a “thundering herd” effect—triggering a
22                  failure of our DNS system.
23                   Multiple factors contributed to the unprecedented load that
24                   ultimately led to the outages. The factors included, among others,

25   33
        Twitter, https://twitter.com/AskRobinhood/status/1234859068763844613 (last visited Aug. 19,
26   2020).
     34
        Twitter, https://twitter.com/AskRobinhood/status/1234880124463435776 (last visited Aug. 19,
27   2020).
     35
        Twitter, https://twitter.com/AskRobinhood/status/1234884989189124096 (last visited Aug. 19,
28   2020).
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                       highly volatile and historic market conditions; record volume; and
 1
                       record account sign-ups.
 2
                       Our team is continuing to work to improve the resilience of our
 3                     infrastructure to meet the heightened load we have been
                       experiencing. We’re simultaneously working to reduce the
 4                     interdependencies in our overall infrastructure. We’re also investing
                       in additional redundancies in our infrastructure. 36
 5
              64.      Notwithstanding Robinhood’s explanations and apologies, its trading platform
 6
     crashed again the very next week. On March 9, 2020, Robinhood once again experienced outages
 7
     with customers unable to access their accounts and transact on the public markets. 37 Services were
 8
     completely unavailable at the start of the trading day and not fully restored until more than five
 9
     hours later. 38
10
              65.      As Robinhood admits, the Outages were a result of internal failures, not a result of
11
     the overall market trading volume. On March 2, 2020, market data shows that on all U.S. exchanges
12
     combined the volume of shares traded was 14,163,098,470 shares. On March 3, 2020, the volume
13
     was 14,900,627,470 shares, and on March 9, 2020, the volume was 17,614,290,337 shares. 39 While
14
     these numbers are higher than average, they are not unheard of and are not records. Trading volume
15
     on February 27 and February 28, 2020, just before the outage, far exceeded either March 2 or 3,
16
     2020 with 15,821,612,374 and 19,357,141,449 shares trading hands each day, respectively.
17

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21
     36
         See https://blog.robinhood.com/ (last visited Aug. 19, 2020).
22   37
         Jonathan Shieber, The Robinhood app went down again as stocks got routed on Wall St.,
23   TechCrunch (Mar. 9, 2020), https://techcrunch.com/2020/03/09/the-robinhood-app-is-downagain-
     as-stocks-get-routed-on-wall-st/ (last visited Aug. 19, 2020).
24   38
        Jay Peters, Robinhood experienced its third outage in a week as US stocks have
     plummeted, The Verge (March 9, 2020)
25   https://www.theverge.com/2020/3/9/21171584/robinhood-outage-week-us-stocks-third-market
26   (last visited Aug. 19, 2020).
     39
         See U.S. Equities Market Volume Summary, available at
27   https://markets.cboe.com/us/equities/market_share/market/2020-03-02/,
     https://markets.cboe.com/us/equities/market_share/market/2020-03-03/,
28   https://markets.cboe.com/us/equities/market_share/market/2020-03-09/.
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 1   February 28 was the second busiest day in history based on trading volume. 40, 41
 2            66.    Furthermore, twelve years ago, in 2008 during the market volatility surrounding the
 3   financial crisis, there were two days on which trading volume was higher than the volume on any
 4   of the dates Robinhood crashed. This includes the record for the highest trading volume on
 5   October 10, 2008, at 19.76 billion shares. 42 Trading volume of this magnitude was readily
 6   foreseeable and Robinhood should have designed its system to handle it.
 7            67.    During the Outages, users were unable to contact Robinhood because Robinhood’s
 8   customer support “Help Center” was down and completely useless. Customers were unable to
 9   contact any Robinhood representative through email, and there was no active phone number for
10   customers to call. Robinhood users were powerless—wholly unable to access their accounts or
11   make trades to mitigate their damages.
12            68.    In Robinhood Securities, LLC’s 2020 Annual Audited Report, filed with the SEC
13   on April 13, 2020, Robinhood described the Outages:
14            On March 2-3, 2020, the Robinhood platform experienced an outage across various
              services, which prevented customers from using the app, website, and help center
15            and on March 9, 2020, the Robinhood platform experienced an outage across its
              trading products, which prevented customers from placing trades (collectively, the
16
              "Outages"). The Company is currently in the process of investigating and evaluating
17            the impact of the Outages. There are many uncertainties associated with these types
              of incidents and possible impacts associated with service outages may include
18            remediation costs to customers, systems upgrades, increased insurance costs,
              adverse effects on compliance with laws and regulations, litigation, and reputational
19            damage.
20
              69.    As of July 2020, Robinhood’s website had experienced 47 service outages since
21
     March, including the nearly two-day outages on March 2 and 3, 2020.
22
              70.    The significant and repeated Outages immediately increased public scrutiny of
23

24
     40
        See U.S. Equities Market Volume Summary, available at
25   https://markets.cboe.com/us/equities/market_share/market/2020-02-27/,
26   https://markets.cboe.com/us/equities/market_share/market/2020-02-28/.
     41
        Philip Stafford, Richard Henderson, Intense’ trading sends exchange volumes to record,
27   Financial Times (https://www.ft.com/content/de34a00a-5ca4-11ea-8033-fa40a0d65a98 (last
     visited Aug. 19, 2020).
28   42
        Id.
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 1   Robinhood. On July 8, 2020, the New York Times published an article profiling Robinhood. 43
 2            71.   According to Robinhood employees quoted in the New York Times article, the
 3   March 2-3 “outage was rooted in issues with the company’s phone app and servers. The employees
 4   also said the start-up had underinvested in technology and moved too quickly rather than carefully.”
 5   The same employees, who declined to be identified in the article, bluntly stated that “the company
 6   failed to provide adequate guardrails and technology to support its customers.” 44
 7            72.   On March 23, 2020, Robinhood offered a credit to many of its users and apologized
 8   for its recent multiple-day outages. Robinhood called the offer a “goodwill” credit. However, in
 9   exchange for the voucher, and even though multiple class actions had been filed by investors
10   damaged by the Outages, the company required users to sign a document agreeing not to take legal
11   action. 45
12

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23            73.   In the March 23, 2020, email to users Robinhood apologized, saying:

24   43
        Nathaniel Popper, Robinhood Has Lured Young Traders, Sometimes With Devastating Results,
     The New York Times (July 8, 2020)
25   https://www.nytimes.com/2020/07/08/technology/robinhood-risky-
26   trading.html?searchResultPosition=2 (last visited Aug. 19, 2020).
     44
        Id.
     45
27      Kate Rooney, Robinhood’s offer to traders impacted by outage comes with a catch: No lawsuits
     allowed, CNBC (March 27, 2020) https://www.cnbc.com/2020/03/27/robinhoods-offer-to-
28   traders-impacted-by-outage-come-with-a-catch.html (last visited Aug. 19, 2020).
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              “We’d like to start with the apology you deserve: We’re sorry for the recent outage
 1
              on our platform. Your support is what helps us democratize finance for all, and we
 2            know we owe it to you to do better,” the company said in an email to some users.
              “An apology alone won’t rebuild your trust in us. Instead, we hope our actions will.”
 3
              74.    The apologies have not been enough for users and many frustrated traders have
 4
     shown up at Robinhood's Silicon Valley headquarters. So many angry users have paid a visit to
 5
     the office that the stock-trading app reportedly installed protective “bulletproof” glass. 46
 6

 7
              Regulatory Framework
 8
              75.    As a broker-dealer, Robinhood is subject to various rules and regulations that impact
 9
     many aspects of its business. One requirement is that Robinhood must make, keep, furnish and
10
     disseminate records and reports prescribed by the Securities and Exchange Commission ("SEC").
11
     FINRA also has specific recordkeeping rules for companies such as Robinhood. The records
12
     Robinhood is required to keep, include but are not limited to, communications relating to their
13
     "business as such,” customer account ledgers, securities records, order tickets, and trade
14
     confirmations. 47
15
              76.    Additionally, under federal and state securities laws, securities industry rules, and
16
     industry best practices, brokerage firms that offer online trading services to their customers are
17
     required to, among other things, ensure that customers receive the best execution of trades and that
18
     the firm has adequate operational capability to handle customer trading volume. As far back as
19
     September 9, 1998, the U.S. Securities and Exchange Commission (“SEC”) issued Staff Legal
20
     Bulletin No. 8, after widespread brokerage firm outages and trading delays that had occurred in
21
     October 1997. Among other admonishments, the SEC warned firms that:
22
              Because broker-dealers are becoming increasingly reliant on technology to perform
23            trading functions and to route customer orders to markets, these problems could be
              more severe during future periods of high trading volume. Broker-dealers therefore
24            need to take steps to prevent their operational systems from being overwhelmed by
25            periodic spikes in systems message traffic due to high volume. In particular, broker-
     46
26      Graham Rapier, Robinhood had to install protective glass after frustrated traders kept showing
     up at its office, Business Insider (July 10, 2020) https://www.businessinsider.com/robinhood-
27   office-installed-bulletproof-glass-after-frustrated-traders-visited-report-2020-7 (last visited Aug.
     19, 2020).
28   47
        See https://www.finra.org/rules-guidance/key-topics/books-records (last visited Aug. 19, 2020).
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               dealers should not merely have sufficient systems capacity to handle average-to-
 1
               heavy loads. Rather, broker-dealers should have the systems capacity to handle
 2             exceptional loads of several times the average trading volume. 48

 3             77.     Brokerage firms were also reminded of these requirements by the National
 4   Association of Securities Dealers (“NASD”), a self-regulatory organization that supervised broker-
 5   dealers like Robinhood, in a 1999 Notice to Members (“NTM”) 99-11, which stated that: “First
 6   and foremost, NASD Regulation reminds member firms of their obligations under [SEC] Staff
 7   Legal Bulletin No. 8 to ensure that they have adequate systems capacity to handle high volume or
 8   high volatility trading days.” 49
 9             78.     Currently, FINRA, which superseded the NASD, and now governs brokers like
10   Robinhood, espouses rule 5310 regarding “Best Execution and Interpositioning.” Rule 5310.01
11   requires that Robinhood “must make every effort to execute a marketable customer order that it
12   receives promptly and fully.” By failing to respond at all to customers’ placing timely trades, and
13   in fact, preventing them from doing so altogether, Robinhood has breached these obligations and
14   caused its customers substantial losses due solely to its own negligence and failure to maintain
15   adequate infrastructure.
16             79.     In addition to best execution, Robinhood has a duty to develop, design, test, and
17   monitor its services; and to create and maintain a written business continuity plan identifying
18   procedure relating to an emergency or significant business disruption. Such procedures must be
19   reasonably designed to enable the company to meet its existing obligations to customers during an
20   emergency, such as an outage. Indeed, FINRA Rule 4370 requires such a business continuity plan
21   to, at minimum, address “mission critical systems.” These systems are defined as “any system that
22   is necessary, depending on the nature of a member's business, to ensure prompt and accurate
23   processing of securities transactions, including, but not limited to, order taking, order entry,
24   execution, comparison, allocation, clearance and settlement of securities transactions, the
25   maintenance of customer accounts, access to customer accounts and the delivery of funds and
26   securities.” FINRA Rule 4370(g)(1).
27
     48
          Available at: https://www.sec.gov/interps/legal/slbmr8.htm (last visited Aug. 19, 2020).
28   49
          Available at: https://www.finra.org/rules-guidance/notices/99-11 (last visited Aug. 19, 2020).
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 1            80.    Robinhood’s written business continuity plan that was in place at the time of the
 2   March Outages, attached as Exhibit A was a one-page document with a section entitled “contact
 3   us” where Robinhood provided the following:
 4            If after a significant business disruption you cannot contact us as you usually do
              through our website robinhood.com or through our mobile applications, you should
 5            call our emergency number in Menlo Park, CA at (844) 428-5411 or submit a ticket
              at support.robinhood.com.
 6

 7   However, during the Outages and since, there was no way to get in touch with a live person, and

 8   the phone number provided was useless. Nevertheless, during the Outages, many Plaintiffs and

 9   Class members attempted to seek support by calling the number provided by Robinhood, with no

10   success whatsoever. Plaintiffs also attempted to contact support.robinhood.com, again to no avail.

11   Emails were not responded to at all, or not for several days until long after the Outages had done

12   their damage. Additionally, during the Outages, attempts to contact Robinhood through its website

13   at robinhood.com were also futile as the website was completely down for the duration of the

14   Outages. Following the Outages, employees at Robinhood confirmed that the Company did not

15   offer any phone support.

16            81.    Since the Outages, Robinhood has modified its business continuity plan—notably,

17   the phone number has now been removed and there are no references to phone support. 50

18   Robinhood also deleted the following assurance:

19            Our business continuity plan addresses: data back-up and recovery; all mission
              critical systems; financial and operational assessments; alternative communications
20            with customers, employees, and regulators; alternate physical location of
              employees; critical supplier, contractor, bank and counter-party impact; regulatory
21            reporting; and assuring our customers prompt access to their funds and securities if
              we are unable to continue our business. As an on-line broker-dealer, it also addresses
22            the recovery of technology systems. In general, our technology systems are cloud-
23            hosted and at separate locations. This design ensures that if one of our locations
              suffers a disruption in service, systems at an alternate location can be used to
24            continue to provide service.

25            82.    Robinhood’s failure to have a proper business continuity plan, or any backup plan
26   50
        See current version of Robinhood Financial and Robinhood Securities Business Continuity
27   Plan Summary, available at
     https://cdn.robinhood.com/assets/robinhood/legal/RHS%20RHF%20Business%20Continuity%20
28   Plan.pdf (last visited Aug. 19, 2020).
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 1   whatsoever, was solely attributable to its own negligence. Additionally, by failing to timely execute
 2   trades during the Outages, Robinhood violated FINRA Rule 2232 by failing to maintain accurate
 3   records of accounts and trade confirmations (including attempted trades), and Rule 3120, by failing
 4   to have a sufficient supervisory system to gain compliance with regulatory laws.
 5            83.   Robinhood has a history of breaching its legal obligations. Just a few months before
 6   the outage, on December 19, 2019, FINRA announced it fined Defendant Robinhood Financial
 7   $1.25 million for best execution violations related to its customers’ equity orders and related
 8   supervisory failures that spanned from October 2016 to November 2017. 51 As part of the findings,
 9   FINRA found that despite requirements to do so, Robinhood “did not have written procedures
10   related to or addressing how it performed its ‘regular and rigorous’ reviews or reviewed non-
11   marketable orders for best execution purposes.” As part of the settlement, Robinhood agreed to
12   retain an independent consultant to conduct a comprehensive review of the firm’s systems and
13   procedures related to best execution. 52
14            84.   Additionally, Robinhood has a history of failing to provide adequate service to its
15   customers, particularly those engaged in options trading. For example, a similar service outage
16   occurred on April 14, 2016, where users were unable to trade securities for an extended period and
17   their portfolios failed to accurately reflect their holdings. 53 And in December 2018,
18   customers trading in options faced comparable outages and incurred significant trading losses,
19   similar to those affected during the Class Period. 54 Again, in October of 2019, Robinhood suffered
20   multiple days of systemwide failures and outages. 55
21            85.   Despite those prior problems, Robinhood failed to remedy the flaws in its systems.
22   51
        See https://www.finra.org/media-center/newsreleases/2019/finra-fines-robinhood-financial-llc-
23   125-million-best-execution (last visited Aug. 19, 2020).
     52
        Id. at 6.
24   53
        Lucinda Shen, A Glitch on This Stock Trading App Made Users Think They’d Lost Thousands
     of Dollars, Yahoo Finance (April 14, 2020) https://in.finance.yahoo.com/news/glitch-stock-
25   trading-app-made-192505186.html (last visited Aug.19, 2020).
     54
26      Dan DeFrancesco, Robinhood’s options trading stopped working, and customers are
     furious over the money they say they lost, Business Insider (Dec. 13, 2018),
27   https://www.businessinsider.com/robinhoods-options-trading-shutdown-and-customers-are-
     furious-2018-12 (last visited Aug. 19, 2020).
28   55
        See https://status.robinhood.com/history?page=4. (last visited Aug. 19, 2020).
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 1                                   PLAINTIFFS’ EXPERIENCES
 2                                           Plaintiff Beckman
 3          86.     Plaintiff Beckman is a customer of Robinhood and entered into a Customer
 4   Agreement, as discussed further below, in order to use Robinhood’s online trading systems.
 5          87.     Plaintiff Beckman subscribed to Robinhood’s Gold.
 6          88.     On March 2, 2020, Plaintiff Beckman attempted to trade options, however, he was
 7   prevented from making those trades as a result of the Outage.
 8          89.     Plaintiff Beckman attempted to contact Robinhood customer support but only
 9   received unhelpful boilerplate responses or no response at all.
10          90.     As a result of the Outages, Plaintiff Beckman estimates his losses are in excess of
11   $10,000.
12                                           Plaintiff Gwaltney
13          91.     Plaintiff Gwaltney is a customer of Robinhood and entered into a Customer
14   Agreement, as discussed further below, in order to use Robinhood’s online trading systems.
15          92.     Plaintiff Gwaltney subscribes to Robinhood’s Gold.
16          93.     On March 2, 2020, Plaintiff Gwaltney attempted to make trades, however, he was
17   prevented from making those trades as a result of the Outage.
18          94.     On March 3, 2020, Plaintiff Gwaltney attempted to make trades, however, he was
19   prevented from making those trades as a result of the Outage.
20          95.     On March 9, 2020, Plaintiff Gwaltney attempted to make trades, however, he was
21   prevented from making those trades as a result of the Outage.
22          96.     Plaintiff Gwaltney attempted to contact Robinhood customer support but only
23   received unhelpful boilerplate responses or no response at all.
24          97.     As a result of the Outages, Plaintiff Gwaltney estimates his losses are in excess of
25   $10,000.
26                                             Plaintiff Jones
27          98.     Plaintiff Jones is a customer of Robinhood and entered into a Customer
28   Agreement, as discussed further below, in order to use Robinhood’s online trading systems.
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 1          99.       Plaintiff Jones subscribes to Robinhood’s Gold.
 2          100.      On March 2, 2020, Plaintiff Jones attempted to make trades, however, she was
 3   prevented from making those trades as a result of the Outage.
 4          101.      Plaintiff Jones attempted to contact Robinhood customer support but only received
 5   unhelpful boilerplate responses or no response at all.
 6          102.      As a result of the Outages, Plaintiff Jones estimates her losses are in excess of
 7   $1,500.
 8                                                Plaintiff Kuri
 9          103.      Plaintiff Kuri is a customer of Robinhood and entered into a Customer
10   Agreement, as discussed further below, in order to use Robinhood’s online trading systems.
11          104.      On March 2, 2020, Plaintiff Kuri attempted to exercise options and make trades,
12   however, she was prevented from making those trades as a result of the Outage.
13          105.      On March 3, 2020, Plaintiff Kuri attempted to exercise options and make trades,
14   however, she was prevented from making those trades as a result of the Outage.
15             106.   Plaintiff Kuri attempted to contact Robinhood customer support but only received
16   unhelpful boilerplate responses or no response at all.
17             107.   As a result of the Outages, Plaintiff Kuri estimates her losses are in excess of $3,000.
18                                                Plaintiff Leith
19             108.   Plaintiff Leith is a customer of Robinhood and entered into a Customer
20   Agreement, as discussed further below, in order to use Robinhood’s online trading systems.
21          109.      Plaintiff Leith subscribes to Robinhood’s Gold.
22          110.      On March 2, 2020, Plaintiff Leith attempted to exercise options, however, he was
23   prevented from making those trades as a result of the Outage.
24          111.      On March 3, 2020, Plaintiff Leith attempted to make trades, however, he was
25   prevented from making those trades as a result of the Outage.
26             112.   On March 9, 2020, Plaintiff Leith attempted to make trades, however, he was
27   prevented from making those trades as a result of the Outage.
28             113.   Plaintiff Leith attempted to contact Robinhood customer support but only received
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 1   unhelpful boilerplate responses or no response at all.
 2          114.    As a result of the Outages, Plaintiff Leith estimates his losses are in excess of $7,500.
 3                                          Plaintiff Mahrouyan
 4          115.    Plaintiff Mahrouyan is a customer of Robinhood and entered into a Customer
 5   Agreement, as discussed further below, in order to use Robinhood’s online trading systems.
 6          116.    Plaintiff Mahrouyan subscribes to Robinhood’s Gold.
 7          117.    On March 2, 2020, Plaintiff Mahrouyan attempted to trade options, however, he was
 8   prevented from making those trades as a result of the Outage.
 9          118.    On March 3, 2020, Plaintiff Mahrouyan attempted to trade options, however, he was
10   prevented from making those trades as a result of the Outage.
11          119.    On March 9, 2020, Plaintiff Mahrouyan attempted to trade options, however, he was
12   prevented from making those trades as a result of the Outage.
13          120.    Plaintiff Mahrouyan attempted to contact Robinhood customer support but only
14   received unhelpful boilerplate responses or no response at all.
15          121.    As a result of the Outages, Plaintiff Mahrouyan estimates his losses are in excess of
16   $50,000.
17                                          Plaintiff Moghadam
18          122.    Plaintiff Moghadamis a customer of Robinhood and entered into a Customer
19   Agreement, as discussed further below, in order to use Robinhood’s online trading systems.
20          123.    Plaintiff Moghadam subscribes to Robinhood’s Gold.
21          124.    On March 2, 2020, Plaintiff Moghadam attempted to make trades, however, he was
22   prevented from making those trades as a result of the Outage.
23          125.    On March 9, 2020, Plaintiff Moghadam attempted to make trades, however, he was
24   prevented from making those trades as a result of the Outage.
25          126.    As a result of the Outages, Plaintiff Moghadam estimates his losses are in excess of
26   $20,000.
27          127.    Moreover, as a result of the losses due to the Outages, Plaintiff Moghadam account
28   value fell far below $25,000, which is the minimum amount required for day trading. As a result,
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 1   Plaintiff Moghadam had to borrow from and pay interest to a lender to reach the minimum for day
 2   trading, which resulted in further losses.
 3                                                Plaintiff Morey
 4          128.    Plaintiff Morey is a customer of Robinhood and entered into a Customer Agreement,
 5   as discussed further below, in order to use Robinhood’s online trading systems.
 6          129.    Plaintiff Morey subscribes to Robinhood’s Gold.
 7          130.    On March 2, 2020, Plaintiff Morey attempted to make trades, however, he was
 8   prevented from making those trades as a result of the Outage.
 9          131.    On March 3, 2020, Plaintiff Morey attempted to make trades, however, he was
10   prevented from making those trades as a result of the Outage.
11          132.    On March 9, 2020, Plaintiff Morey attempted to make trades, however, he was
12   prevented from making those trades as a result of the Outage.
13          133.    Plaintiff Morey attempted to contact Robinhood customer support but only received
14   unhelpful boilerplate responses or no response at all.
15          134.    As a result of the Outages, Plaintiff Morey estimates his losses are in excess of
16   $10,000.
17                                          Plaintiff Prendergast
18          135.    Plaintiff Prendergast is a customer of Robinhood and entered into a Customer
19   Agreement, as discussed further below, in order to use Robinhood’s online trading systems.
20          136.    On March 2, 2020, Plaintiff Prendergast attempted to exercise options, however, he
21   was prevented from making those trades as a result of the Outage.
22          137.    Plaintiff Prendergast attempted to contact Robinhood customer support but only
23   received unhelpful boilerplate responses or no response at all.
24          138.    As a result of the Outages, Plaintiff Prendergast estimates his losses are in excess of
25   $30,000.
26                                                 Plaintiff Rao
27          139.    Plaintiff Rao is a customer of Robinhood and entered into a Customer Agreement,
28   as discussed further below, in order to use Robinhood’s online trading systems.
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 1           140.    Plaintiff Rao subscribes to Robinhood’s Gold.
 2           141.    On March 2, 2020, Plaintiff Rao attempted to place trades, however, he was
 3   prevented from making those trades as a result of the Outage.
 4           142.    Plaintiff Rao attempted to contact Robinhood customer support but only received
 5   unhelpful boilerplate responses or no response at all.
 6           143.    As a result of the Outages, Plaintiff Rao estimates his losses are in excess of $49,000.
 7           144.    As a consequence of Plaintiff Rao’s losses due to the Outage, Robinhood forcibly
 8   liquidated some of Plaintiff Rao’s positions due to a margin call. Plaintiff Rao suffered significant
 9   losses as a result.
10                                              Plaintiff Riggs
11           145.    Plaintiff Riggs is a customer of Robinhood and entered into a Customer Agreement,
12   as discussed further below, in order to use Robinhood’s online trading systems.
13           146.    On March 2, 2020, Plaintiff Riggs attempted to make trades, however, he was
14   prevented from making those trades as a result of the Outage.
15           147.    Plaintiff Riggs attempted to contact Robinhood customer support but only received
16   unhelpful boilerplate responses or no response at all.
17           148.    As a result of the Outages, Plaintiff Riggs estimates his losses are in excess of
18   $10,000.
19                                              Plaintiff Russell
20           149.    Plaintiff Russell is a customer of Robinhood and entered into a Customer
21   Agreement, as discussed further below, in order to use Robinhood’s online trading systems.
22           150.    On March 2, 2020, Plaintiff Russell attempted to make trades, however, he was
23   prevented from making those trades as a result of the Outage.
24           151.    On March 3, 2020, Plaintiff Russell attempted to make trades, however, he was
25   prevented from making those trades as a result of the Outage.
26           152.    As a result of the Outages, Plaintiff Russell estimates his losses are in excess of
27   $1,000.
28                                            Plaintiff Steinberg
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 1          153.      Plaintiff Steinberg is a customer of Robinhood and entered into a Customer
 2   Agreement, as discussed further below, in order to use Robinhood’s online trading systems.
 3          154.      Plaintiff Steinberg subscribes to Robinhood’s Gold.
 4          155.      On March 2, 2020, Plaintiff Steinberg attempted to trade options, however, he was
 5   prevented from making those trades as a result of the Outage.
 6          156.      On March 3, 2020, Plaintiff Steinberg attempted to trade options, however, he was
 7   prevented from making those trades as a result of the Outage.
 8          157.      Plaintiff Steinberg attempted to contact Robinhood customer support but only
 9   received unhelpful boilerplate responses or no response at all.
10          158.      As a result of the Outages, Plaintiff Steinberg estimates his losses are in excess of
11   $1,000.
12                                              Plaintiff Ward
13          159.      Plaintiff Ward is a customer of Robinhood and entered into a Customer
14   Agreement, as discussed further below, in order to use Robinhood’s online trading systems.
15          160.      On March 2, 2020, Plaintiff Ward attempted to make trades, however, he was
16   prevented from making those trades as a result of the Outage.
17             161.   On March 3, 2020, Plaintiff Ward attempted to make trades, however, he was
18   prevented from making those trades as a result of the Outage.
19             162.   Plaintiff Ward attempted to contact Robinhood customer support but only received
20   unhelpful boilerplate responses or no response at all.
21             163.   As a result of the Outages, Plaintiff Ward estimates his losses are in excess of
22   $15,000.
23                                                Plaintiff Xia
24             164.   Plaintiff Xia is a customer of Robinhood and entered into a Customer
25   Agreement, as discussed further below, in order to use Robinhood’s online trading systems.
26             165.   On March 2, 2020, Plaintiff Xia attempted to make trades, however, she was
27   prevented from making those trades as a result of the Outage.
28             166.   On March 3, 2020, Plaintiff Xia attempted to make trades, however, she was
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 1   prevented from making those trades as a result of the Outage.
 2            167.   Plaintiff Xia attempted to contact Robinhood customer support but only received
 3   unhelpful boilerplate responses or no response at all.
 4            168.   As a result of the Outages, Plaintiff Xia estimates her losses are in excess of $15,000.
 5                                    CLASS ACTION ALLEGATIONS
 6            169.   Plaintiffs bring claims pursuant to Federal Rule of Civil Procedure 23 on behalf of
 7   the following Class, as defined below:
 8                   All Robinhood customers within the United States. 56
 9
              170.   Additionally, or in the alternative, Plaintiffs may also bring claims pursuant to
10
     Federal Rule of Civil Procedure 23 on behalf of the following Subclasses, as defined below:
11
                     Gold Subclass:       All Robinhood customers within the United States
12                   who were subscribers to Robinhood’s Gold membership service during the
13                   Outages.

14                   Options Subclass: All Robinhood customers within the United States
                     who owned a position in an option contract during the Outages.
15
                     Margin Subclass:    All Robinhood customers within the United States
16                   who had margin accounts during the Outages.
17
              171.   Excluded from the Class 57 are the Robinhood entities and their current employees,
18
     counsel for either party as well as their immediate families, as well as the Court and its personnel
19
     presiding over this action.
20
              172.   This action has been brought and may properly be maintained as a class action
21
     against Robinhood pursuant to the provisions of Federal Rule of Civil Procedure 23.
22
              173.   Numerosity: The precise number of members of the proposed Class is unknown to
23
     Plaintiffs at this time, but, based on information and belief, Class members are so numerous that
24
     their individual joinder herein is impracticable. Based on information and belief and publicly
25
     56
26      The “Class Period” for each claim is provisionally intended to be the respective statute of
     limitations for each claim, with Plaintiff reserving the right to invoke the equitable tolling
27   doctrine based on the discovery rule or other bases as discovery and the case progresses.
     57
        The term “Class” as used throughout includes both the Class and Subclasses unless otherwise
28   specified.
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 1   available reports, Class members number in the hundreds of thousands and likely are many million.
 2   Subclass members are likely in the tens or hundreds of thousands. All Class members may be
 3   notified of the pendency of this action by reference to Robinhood’s records, publication notice, or
 4   by other alternative means.
 5          174.    Commonality: Numerous questions of law or fact are common to the claims of
 6   Plaintiffs and members of the proposed Class. These common questions of law and fact exist as to
 7   all Class members and predominate over questions affecting only individual Class members. These
 8   common legal and factual questions include, but are not limited to the following:
 9          a.      How and why the Outages occurred;
10          b.      Whether Robinhood’s infrastructure was adequate;
11          c.      Whether Robinhood maintained adequate business continuation and contingency
12                  plans to provide financial services during the Outages;
13          d.      Whether Robinhood complied with its legal, regulatory, and licensing requirements;
14          e.      Whether Robinhood’s conduct is governed by California law;
15          f.      Whether Robinhood’s conduct in connection with the Outages was negligent (or
16                  grossly negligent);
17          g.      Whether Robinhood breached its fiduciary duties to Plaintiffs and Class members;
18          h.      Whether Robinhood has breached (and continues to breach) its contracts with
19                  Robinhood customers and/or the implied covenant of good faith and fair dealing;
20          i.      Whether Robinhood’s conduct violates California’s Unfair Competition Law, Bus.
21                  & Prof. Code Section 17200, et seq.;
22          j.      Whether Robinhood was unjustly enriched by its conduct;
23          k.      Whether Plaintiffs and the other Class members were injured by Robinhood’s
24                  conduct, and if so, the appropriate measure of damages, restitution, disgorgement
25                  and other monetary relief; and
26          l.      Whether Plaintiffs and the other Class members are entitled to injunctive and
27                  declaratory relief.
28          175.    Typicality: The claims of the named Plaintiffs are typical of the claims of the
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 1   proposed Class in that the named Plaintiffs were all Robinhood customers during the Outages, have
 2   sustained damages and other harms as a result of the Outages, and are at continuing risk of further
 3   harm due to Robinhood’s conduct.
 4           176.    Adequate Representation: Plaintiffs will fairly and adequately represent the
 5   interests of the Class in that they have no conflicts with any other Class members. Plaintiffs have
 6   retained competent counsel experienced in prosecuting complex class actions, including those
 7   involving technology and financial services, and they will vigorously litigate this class action.
 8           177.    Predominance and Superiority: There is no plain, speedy, or adequate remedy
 9   other than by maintenance of this class action. A class action is superior to other available means,
10   if any, for the fair and efficient adjudication of this controversy. Prosecution of separate actions by
11   individual Class members would create the risk of inconsistent or varying adjudications,
12   establishing incompatible standards of conduct for the Defendant. Additionally, given the amount
13   of damages sustained by most individual Class members, few proposed Class members could or
14   would sustain the economic burden of pursuing individual remedies for Robinhood’s wrongful
15   conduct. Treatment as a class action will achieve substantial economies of time, effort, and expense,
16   and provide comprehensive and uniform supervision by a single court. This class action presents
17   no material difficulties in management.
18           178.    Class certification is warranted under Fed. R. Civ P. 23(b)(1)(A) because the
19   prosecution of separate actions by individual members of the proposed Class would create a risk of
20   inconsistent or varying adjudications with respect to individual Class members, which may produce
21   incompatible standards of conduct for Robinhood.
22           179.    Class certification is warranted under Fed. R. Civ P. 23(b)(1)(B) because the
23   prosecution of separate actions by individual members of the proposed Class would create a risk of
24   adjudications with respect to individual Class members which may, as a practical matter, be
25   dispositive of the interests of the other members not parties to the adjudications or substantially
26   impair or impede their ability to protect their interests.
27           180.    The prerequisites to maintaining a class action for injunctive or equitable relief
28   pursuant to Fed. R. Civ. P. 23(b)(2) are met as Robinhood has acted or refused to act on grounds
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 1   generally applicable to the Class, thereby making final injunctive, declaratory, or equitable relief
 2   appropriate with respect to the Class as a whole.
 3             181.    Class certification is also warranted under Fed. R. Civ P. 23(b)(3) because questions
 4   of law or fact common to the Class members predominate over any questions affecting only
 5   individual members, and a Class action is superior to other available remedies for the fair and
 6   efficient adjudication of this controversy. The amount of damages available to the individual
 7   Plaintiffs is insufficient to make litigation addressing Robinhood’s conduct economically feasible
 8   for most in the absence of the class action procedure. Individualized litigation also presents a
 9   potential for inconsistent or contradictory judgments, and increases the delay and expense to all
10   parties and the court system presented by the legal and factual issues of the case. By contrast, the
11   class action device presents far fewer management difficulties and provides the benefits of a single
12   adjudication, economy of scale, and comprehensive supervision by a single court.
13             182.    Class certification is also warranted under Fed. R. Civ P. 23(c)(4) because questions
14   of law or fact common to the Class members may be certified and decided by this Court on a class
15   wide basis. As indicated above, subclasses pursuant to Fed. R. Civ. P. 23(c)(5) may be warranted.
16                                           CLAIMS FOR RELIEF 58
17                                                  COUNT I
18                                                  Negligence
19             183.    Plaintiffs hereby incorporate by reference the factual allegations contained herein.
20             184.    As a provider of financial services and registered securities investment broker-
21   dealer, Robinhood had a duty to exercise reasonable care, skill, and ability in conducting and
22   facilitating financial services and transactions for its customers.
23             185.    Robinhood unlawfully breached its duties by, among other things, failing to
24   maintain a reliably functioning electronic trading platform with sufficient operating capability and
25   adequate infrastructure to process customer transactions, including during volatile and high-volume
26   trading sessions; by failing to adequately design, test, and monitor its infrastructure necessary to
27   timely process customers’ transactions; by failing to provide timely access to trading services
28   58
          All Counts are alleged against each Defendant unless otherwise specified.
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 1   during the Outages; by failing to timely process securities trades, including taking orders, entering
 2   orders, and executing orders; by failing to keep records of trades (including attempted trades); by
 3   failing to provide timely access to customers’ accounts, securities and funds; by failing to have a
 4   supervisory control system that would have identified and prevented the Outages; by failing to have
 5   adequate business contingency and continuity plans to ensure timely service in the event of an
 6   outage; by failing to have any back-up plans to receive and process customers’ orders during the
 7   Outages; by having no adequate means for customers to get assistance during the Outages; by
 8   failing to comply with applicable legal regulatory requirements and industry standards of care,
 9   including those set by FINRA and its predecessor authorities; and by making unauthorized
10   transactions on customers’ accounts.
11          186.    As set forth below, Robinhood’s conduct was so want of even scant care that its acts
12   and omissions were and continue to be an extreme departure from the ordinary standard of conduct,
13   rendering Robinhood not just negligent, but grossly negligent.
14          187.    Robinhood’s negligence and breaches of its duties owed to Plaintiffs and Class
15   members proximately caused losses and damages that would not have occurred but for Robinhood’s
16   breach of its duty of due care. These losses reflect damages to Plaintiffs and Class members in an
17   amount to be determined at trial.
                                                  COUNT II
18

19                                             Gross Negligence
            188.    Plaintiffs hereby incorporate by reference the factual allegations contained herein.
20
            189.    As a provider of financial services and registered securities investment broker-
21
     dealer, Robinhood had a duty to exercise reasonable care, skill, and ability in conducting and
22
     facilitating financial services and transactions for its customers.
23
            190.     Robinhood unlawfully breached its duties by, among other things, failing to
24
     maintain a reliably functioning electronic trading platform with sufficient operating capability and
25
     adequate infrastructure to process customer transactions, including during volatile and high-volume
26
     trading sessions; by failing to adequately design, test, and monitor its infrastructure necessary to
27
     timely process customers’ transactions; by failing to provide timely access to trading services
28
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 1   during the Outages; by failing to timely process securities trades, including taking orders, entering
 2   orders, and executing orders; by failing to keep records of trades (including attempted trades); by
 3   failing to provide timely access to customers’ accounts, securities and funds; by failing to have a
 4   supervisory control system that would have identified and prevented the Outages; by failing to have
 5   adequate business contingency and continuity plans to ensure timely service in the event of an
 6   outage; by failing to have any back-up plans to receive and process customers’ orders during the
 7   Outages; by having no adequate means for customers to get assistance during the Outages; by
 8   failing to comply with applicable legal regulatory requirements and industry standards of care,
 9   including those set by FINRA and its predecessor authorities; and by making unauthorized
10   transactions on customers’ accounts.
11          191.    Robinhood’s conduct as set forth in this Complaint was want of even scant care and
12   its acts and omissions were and continue to be an extreme departure from the ordinary standard of
13   conduct. Indeed, Robinhood essentially abandoned its customers altogether during the Outages, a
14   standard of care so far below what is required for business engaging in time sensitive financial
15   services that it amounts to a complete abandonment of its duties. Moreover, Robinhood continues
16   to experience regular outages which indicates that it has failed to implement adequate
17   infrastructure, is still not compliant with applicable regulatory authorities, still has no meaningful
18   business contingency or continuity plan, and still has no backup system for customers to access
19   their accounts and execute timely transactions and trades. Robinhood’s reckless disregard for its
20   customers continues to fall so far below the standard of care required of it that it constitutes gross
21   negligence.
22          192.    Robinhood’s gross negligence and breaches of its duties owed to Plaintiffs and Class
23   members proximately caused their losses and damages that they would not have occurred but for
24   Robinhood’s gross breaches of its duty of due care. These losses reflect damages to Plaintiffs and
25   Class members in an amount to be determined at trial.
26                                               COUNT III
27                                       Breach of Fiduciary Duty
28          193.    Plaintiffs hereby incorporate by reference the factual allegations contained herein.
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 1          194.    As a provider of financial services and a registered securities investment broker-
 2   dealer, at all times relevant herein Robinhood was a fiduciary to Plaintiffs and Class members and
 3   owed them the highest good faith and integrity in performing its financial services and acting as a
 4   securities broker-dealer on their behalf. As a broker-dealer, Robinhood provides securities trading
 5   services by taking, entering, and executing orders, provides information and advice to customers
 6   on investments and investment strategies (although it disclaims doing so), and even executes
 7   transactions within their accounts when not specifically requested by investors.
 8          195.    Robinhood also maintains discretionary control over customer accounts as
 9   commemorated in its Customer Agreement, and takes commissions for exercising such
10   discretionary actions (attached as Exhibits B, C & D.):
11          Robinhood may, but are not obligated to, notify Me of any upcoming expiration or
            redemption dates, or take any action on My behalf without My specific instructions
12          except as required by law and the rules of regulatory authorities. I acknowledge that
            Robinhood may adjust My Account to correct any error. If My Account has an
13
            option position on the last trading day prior to expiration, which is one cent or more
14          in the money, Robinhood Financial will generally exercise the option, on My behalf.
            However, Robinhood Financial reserves the right at Its discretion to close any option
15          position prior to expiration date or any position resulting from the
            exercising/assignment after option expiration. I will be charged a commission for
16          any such transaction.
17
     Robinhood also may “in its sole discretion” buy or sell securities and liquidate accounts in any
18
     circumstance, whatsoever, “including, but not limited to” certain enumerated events such as having
19
     insufficient funds. Accordingly, Robinhood expressly assumes all the fiduciary responsibilities
20
     associated with its retention of discretion to exercise trades and other transactions with or without
21
     customer direction.
22
            196.    Additionally, because Robinhood provides securities trading services through web
23
     and app-based services, it maintains a specific fiduciary duty to ensure such web and app-based
24
     services are fundamentally reliable and unlikely to malfunction and cause their customers harm and
25
     damages, particularly when Robinhood also does not maintain adequate infrastructure and back-up
26
     services or other means to take timely actions on accounts in the event of an outage.
27
            197.    Robinhood breached its fiduciary duties to Plaintiffs and Class members by, among
28
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 1   other things, failing to maintain a reliably functioning electronic trading platform with sufficient
 2   operating capability and adequate infrastructure to process customer transactions, including during
 3   volatile and high-volume trading sessions; by failing to adequately design, test, and monitor its
 4   infrastructure necessary to timely process customers’ transactions; by failing to provide timely
 5   access to trading services during the Outages; by failing to timely process securities trades,
 6   including taking orders, entering orders, and executing orders; by failing to keep records of trades
 7   (including attempted trades); by failing to provide timely access to customers’ accounts, securities
 8   and funds; by failing to have a supervisory control system that would have identified and prevented
 9   the Outages; by failing to have adequate business contingency and continuity plans to ensure timely
10   service in the event of an outage; by failing to have any back-up plans to receive and process
11   customers’ orders during the Outages; by having no adequate means for customers to get assistance
12   during the Outages; by failing to comply with applicable legal regulatory requirements and industry
13   standards of care, including those set by FINRA and its predecessor authorities; and by making
14   unauthorized transactions on customers’ accounts.
15               198.   Robinhood’s conduct has caused Plaintiffs’ and Class members’ harm, losses, and
16   damages and continues to expose them to harm because Robinhood continues to breach its fiduciary
17   duties. These losses reflect damages to Plaintiffs and Class members in an amount to be determined
18   at trial.
19                                                  COUNT IV
20                                              Breach of Contract
21         (Alleged solely against Defendants Robinhood Financial and Robinhood Securities)
22               199.   Plaintiffs hereby incorporate by reference the factual allegations contained herein.
23               200.   In order to use the Robinhood trading platform, a potential customer must enter into
24   the Customer Agreement with Robinhood. The operative Customer Agreement at the time of the
25   Outages, is attached as Exhibit B. Since the Outages, Robinhood has twice amended the operative
26   Customer Agreement. The April 28, 2020 Customer Agreement is attached as Exhibit C and the
27   June 22, 2020 Customer Agreement is attached as Exhibit D. Each of these Customer Agreements
28   mandates that Robinhood’s accounts and trading activities will be subject to all applicable state and
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 1   federal laws and regulations, including those set by self-regulatory organizations. See, e.g., Ex. B
 2   at ¶ 11. Each Customer Agreement also selects California choice of law to apply. Id. at ¶ 36.
 3   Additionally, Robinhood’s customers who are Gold members are subject to the Gold User
 4   Agreement attached as Exhibit E, Robinhood’s customers who trade on margin are subject to the
 5   Margin and Short Account Agreement attached as Exhibit F, and Robinhood’s customers who
 6   trade options are subject to the Options Agreement attached as Exhibit G. Most of the contracts
 7   expressly refer and incorporate each others’ terms by reference, including by hyperlink. See, e.g.,
 8   Exhibit F, at p. 7, ¶ 17. All Robinhood customers are also subject to the Robinhood Terms &
 9   Conditions, a copy of which is attached as Exhibit H, and Robinhood’s Business Continuity Plan
10   Summary is attached as Exhibit I. Each of these standardized agreements are contracts of adhesion
11   that are imposed on Robinhood’s customers as conditions of use and are not subject to negotiation.
12          201.    Robinhood furnished consideration to Plaintiffs and Class members in the form of
13   access to Robinhood’s online trading platform, enabling them to trade securities and options listed
14   on U.S. securities exchanges. In exchange, Robinhood received consideration from Plaintiff and
15   Class members including, but not limited to, order flow data, which it sold to market makers to
16   generate revenue, interest generated on cash balances in accounts, commissions and fees based on
17   trades placed, interest on margin extensions, and fees for Gold Membership access.
18          202.    Robinhood breached its contracts with customers by failing to perform under the
19   contracts entirely, and by, among other things, failing to maintain a reliably functioning electronic
20   trading platform with sufficient operating capability and adequate infrastructure to process
21   customer transactions, including during volatile and high-volume trading sessions; by failing to
22   adequately design, test, and monitor its infrastructure necessary to timely process customers’
23   transactions; by failing to provide timely access to trading services during the Outages; by failing
24   to timely process securities trades, including taking orders, entering orders, and executing orders;
25   by failing to keep records of trades (including attempted trades); by failing to provide timely access
26   to customers’ accounts, securities and funds; by failing to have a supervisory control system that
27   would have identified and prevented the Outages; by failing to have adequate business contingency
28   and continuity plans to ensure timely service in the event of an outage; by failing to have any back-
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 1   up plans to receive and process customers’ orders during the Outages; by having no adequate means
 2   for customers to get assistance during the Outages; by failing to comply with applicable legal
 3   regulatory requirements and industry standards of care, including those set by FINRA and its
 4   predecessor authorities; and by making unauthorized transactions on customers’ accounts.
 5          203.     Robinhood’s Customer Agreement purports to limit liability for “temporary” service
 6   interruptions due to events like maintenance, but it specifically distinguishes that purported
 7   limitation of liability from the circumstances that led to the lengthy Outages which were attributable
 8   solely to Robinhood’s conduct: “I agree that Robinhood will not be responsible for temporary
 9   interruptions in service due to maintenance, Website or App changes, or failures, nor shall
10   Robinhood be liable for extended interruptions due to failures beyond our control, including but
11   not limited to the failure of interconnecting and operating systems, computer viruses, forces of
12   nature, labor disputes and armed conflicts.” See, e.g., Ex. B at ¶ 17. As Robinhood admitted both
13   during and after the extended Outages, they were not attributable to “failures beyond our control”
14   but the lack of adequate infrastructure, foresight, and planning. The Outages at issue in this case
15   were foreseeable and preventable, and in breach of the parties’ agreements.
16          204.     Robinhood’s failure to perform and its breaches of the Customer Agreement and
17   applicable contracts resulted in damages and losses to Plaintiffs and Class members and continues
18   to expose them to harm because Robinhood continues to fail to perform under the Customer
19   Agreement. These losses reflect damages to Plaintiffs and Class members in an amount to be
20   determined at trial.
21          205.     Additionally, because damages may not be a full and complete remedy due to the
22   ongoing nature of the relationship between the parties and the continuing risk of future harm,
23   Plaintiffs and Class members seek specific performance of the contracts to ensure Robinhood has
24   sufficient infrastructure to manage their accounts and trading activity in the future.
25                                                COUNT V
26                    Breach of the Implied Covenant of Good Faith and Fair Dealing
27                 (Alleged solely against Robinhood Financial and Robinhood Securities)
28          206.     Plaintiffs hereby incorporate by reference the factual allegations contained herein.
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 1          207.    As set forth above, Plaintiffs, Class members and Robinhood are parties to the
 2   Customer Agreement and related contracts.
 3          208.     Robinhood unfairly interfered with Plaintiffs’ and Class members’ rights to receive
 4   the benefits of the Customer Agreement and related contracts by, failing to perform under the
 5   contracts entirely, and by, among other things, failing to maintain a reliably functioning electronic
 6   trading platform with sufficient operating capability and adequate infrastructure to process
 7   customer transactions, including during volatile and high-volume trading sessions; by failing to
 8   adequately design, test, and monitor its infrastructure necessary to timely process customers’
 9   transactions; by failing to provide timely access to trading services during the Outages; by failing
10   to timely process securities trades, including taking orders, entering orders, and executing orders;
11   by failing to keep records of trades (including attempted trades); by failing to provide timely access
12   to customers’ accounts, securities and funds; by failing to have a supervisory control system that
13   would have identified and prevented the Outages; by failing to have adequate business contingency
14   and continuity plans to ensure timely service in the event of an outage; by failing to have any back-
15   up plans to receive and process customers’ orders during the Outages; by having no adequate means
16   for customers to get assistance during the Outages; by failing to comply with applicable legal
17   regulatory requirements and industry standards of care, including those set by FINRA and its
18   predecessor authorities; and by making unauthorized transactions on customers’ accounts.
19          209.    Robinhood’s conduct has breached the implied covenant of good faith and fair
20   dealing because it has caused Plaintiffs and Class members’ harm, losses, and damages, and
21   continues to expose them to harm because Robinhood continues to fail to perform under the
22   Customer Agreement. These losses reflect damages to Plaintiffs and Class members in an amount
23   to be determined at trial.
24          210.    Additionally, because damages may not be a full and complete remedy due to the
25   ongoing nature of the relationship between the parties and the continuing risk of future harm,
26   Plaintiffs and Class members seek specific performance of the contracts to ensure Robinhood has
27   sufficient infrastructure to manage their accounts and trading activity in the future.
28                                               COUNT VI
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 1    Violation of California Unfair Competition Law, Cal. Bus. & Prof. Code §§ 17200, et seq.
 2          211.    Plaintiffs hereby incorporate by reference the factual allegations contained herein.
 3          212.    Robinhood has engaged in unfair competition within the meaning of California
 4   Business & Professions Code section 17200, et seq., because Robinhood’s conduct is unlawful and
 5   unfair as herein alleged.
 6          213.    Plaintiffs, the members of the Class, and Robinhood are a “person” or “persons,”
 7   within the meaning of Section 17201 of the California Unfair Competition Law (“UCL”).
 8          214.    The UCL prohibits any unlawful and unfair business practices or acts. Robinhood’s
 9   conduct, as alleged herein, constitutes an unlawful and unfair business practice that occurred in
10   connection with the provision of its financial and investment broker services.
11          215.    Unlawful prong: Robinhood’s conduct, as described within, violated the UCL’s
12   unlawful prong because it: (1) constitutes negligence and/or gross negligence; (2) constitutes a
13   breach of fiduciary duty; (3) constitutes a breach of contract and/or a breach of the implied covenant
14   of good faith and fair dealing; (4) it violated applicable regulatory laws and guidance such as the
15   SEC’s Staff Legal Bulletin No. 8 and the NASD’s Notice to Members (“NTM”) 99-11 that required
16   broker-dealers to have sufficient technological trading capacity over 20 years ago, FINRA Rule
17   2232 by failing to maintain accurate records of accounts and trade confirmations (including
18   attempted trades), Rule 3120, by failing to have a sufficient supervisory system to gain compliance
19   with regulatory laws, Rule 4370 which requires Robinhood to have a contingency plan in the case
20   of emergency or business disruption, and Rule 5310 which requires best execution of orders fully
21   and promptly; and (5) has unlawfully and unjustly enriched Robinhood.
22          216.    Unfair prong: Robinhood’s conduct, as described within, violated the UCL’s
23   unfair prong because its conduct violates established public policy intended to regulate financial
24   services to consumers, and because it is immoral, unethical, oppressive, or unscrupulous and has
25   caused injuries to the Plaintiffs and the Class that outweigh any purported benefit. The utility of
26   Robinhood’s conduct in failing to maintain and implement adequate infrastructure and by breaching
27   its duties and obligations to Plaintiffs and Class members is far outweighed by the gravity of harm
28   to consumers who have now incurred losses and damages they would not have otherwise.
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 1             217.   Plaintiffs have standing to pursue this claim because they have been injured by
 2   virtue of suffering a loss of money and/or property as a result of the wrongful conduct alleged
 3   herein.
 4             218.   The UCL is, by its express terms, a cumulative remedy, such that remedies under its
 5   provisions can be awarded in addition to those provided under separate statutory schemes and/or
 6   common law remedies, such as those alleged in the other Counts of this Complaint. See Cal. Bus.
 7   & Prof. Code § 17205.
 8             219.   As a direct and proximate cause of Robinhood’s conduct, which constitutes
 9   unlawful and unfair business practices, as herein alleged, Plaintiffs and Class members have been
10   damaged and suffered ascertainable losses, thereby entitling them to recover restitution and
11   equitable relief, including disgorgement or ill-gotten gains, refunds of moneys, interest, reasonable
12   attorneys’ fees, filing fees, and the costs of prosecuting this class action, as well as any and all other
13   relief that may be available at law or equity. Additionally, because Plaintiffs and Class members
14   continue to have accounts and investments with Robinhood and intend to use Robinhood’s services
15   in the future, injunctive relief is warranted.
16                                                COUNT VII
17                                            Unjust Enrichment
18             220.   Plaintiffs hereby incorporate by reference the factual allegations contained herein.
19             221.   By its wrongful conduct described herein, Robinhood has obtained a benefit from
20   Plaintiffs and Class members that includes, but is not limited to, maintaining their accounts,
21   receiving their personal data, receiving payments for order flow, maintaining deposited funds,
22   charging and/or receiving interest on accounts and margin balances, charging and/or receiving fees,
23   commissions and Gold Membership fees, and increased capital fundraising due to the high number
24   of new and continuing users of its platform, which also drives up Robinhood’s valuation.
25             222.   Since Robinhood’s profits, benefits, and other compensation were obtained by
26   improper means, Robinhood was unjustly enriched at the expense of Plaintiffs and Class members
27   and is not legally or equitably entitled to retain any of the benefits, compensation or profits it
28   realized.
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 1          223.    Plaintiffs and Class members seek an order of this Court requiring Robinhood to
 2   refund, disgorge, and pay as restitution any profits, benefits, and other compensation obtained by
 3   Robinhood from its wrongful conduct and/or the establishment of a constructive trust from which
 4   Plaintiffs and Class members may seek restitution.
 5                                               COUNT VIII
 6                                            Declaratory Relief
 7          224.    Plaintiffs hereby incorporate by reference the factual allegations contained herein.
 8          225.    Under the Declaratory Judgment Act, 28 U.S.C. §§ 2201 et seq., this Court is
 9   authorized to enter a judgment declaring the rights and legal relations of the parties and grant further
10   necessary relief. Furthermore, the Court has broad authority to restrain acts, such as here, which
11   are tortious and which violate the terms of the laws and legal obligations described in this
12   Complaint.
13          226.    An actual controversy has arisen. Plaintiffs allege that Robinhood is not complying
14   with its fiduciary duties and obligations under the Customer Agreement and regulatory
15   requirements, and has not and does not maintain sufficient infrastructure necessary to provide the
16   financial services it must do so in a complete and timely manner.
17          227.    Pursuant to its authority under the Declaratory Judgment Act, this Court should enter
18   a judgment declaring, among other things, the following:
19                  a.       Robinhood owed and continues to owe a legal duty to comply with its
20                           agreements as well as regulatory requirements to maintain adequate
21                           infrastructure to handle consumer demand and execute trades in a complete
22                           and timely manner; and
23                  b.       Robinhood continues to breach this legal duty by failing to implement and
24                           maintain reasonable measures to prevent Outages and provide alternative
25                           means for customers to make timely financial transactions if and when they
26                           do occur.
27          228.    The Court also should issue corresponding injunctive relief requiring Robinhood to
28   employ adequate quality control consistent with industry standards, regulatory requirements, and
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 1   the parties’ agreements.
 2                                           PRAYER FOR RELIEF
 3          THEREFORE, Plaintiffs seeks judgment against Robinhood, as follows:
 4          A.        Certifying the Class and naming Plaintiffs as representatives of the Class and/or
 5   Subclasses and Plaintiffs’ attorneys as Class Counsel to represent the Class members;
 6          B.        Finding that Robinhood’s conduct violates the statutes and laws referenced herein;
 7          C.        Finding in favor of Plaintiffs and the Class on all counts asserted herein;
 8          D.        Granting restitution, disgorgement and other equitable monetary relief to Plaintiffs
 9   and the Class;
10          E.        Granting declaratory and injunctive relief to enjoin Robinhood from engaging in the
11   unlawful practices described in this Complaint;
12          F.        Granting compensatory and/or punitive damages, the amount of which is to be
13   determined at trial;
14          G.        Granting pre- and post-judgment interest on all amounts awarded;
15          H.        Granting injunctive relief as pleaded or as the Court may deem proper;
16          I.        Awarding Plaintiffs and the Class reasonable attorneys’ fees and expenses and costs
17   of suit; and
18          J.        Granting further relief as this Court may deem proper.
19                                             JURY TRIAL DEMAND
20          Plaintiffs demand a trial by jury on all issues so triable.
21

22

23
     DATED: June 30, 2021                            Respectfully submitted,
24

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                     SECOND AMENDED CONSOLIDATED CLASS ACTION COMPLAINT
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